Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 1 of 83

EXHIBIT D

 
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21

Richard, Stephanie

From:
Sent:
To:
Subject:

paul jones <ccrdcorp@gmail.com>
Monday, December 02, 2019 5:19 PM
Richard, Stephanie

Re: RATE changes DMA work

Thanks my rates wont be changing any time soon

Paul Jones / Director

Commonwealth Community

Recovery Division Inc.
79 Thompson Street
Springfield, Ma 01109
Cell: 617-939-5417

Toll Free: 888-680-4667
Fax: 898-726-8386

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sender and delete the material from any computers.

Page 2 of 83

On Mon, Dec 2, 2019 at 5:13 PM Richard, Stephanie <Stephanie.Richard@mrta.us> wrote:

| Good afternoon, Please note that DMA rate changes for JAN FEB MAR, will now be a shorter time period,
The rates can only be changed in the portal DEC 1 thru DEC 6, download and sign will be available on DEC 7

| 2019, Then you can fax or email them to

| Brokeragecontracts(@mrta.us by DEC 12, 2019, Any rates received after this date will not be accepted.

| Tanbs you

Mephanie Richard
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 3 of 83

Richard, Stephanie

From: paul jones <ccrdcorp@gmail.com>
Sent: Thursday, December 12, 2019 6:53 AM
To: DMAContracts

Subject: New Rates

Attachments: New Rates.pdf

New Rates

Paul Jones/Director
Commonwealth Community. : Lf

 

Recovery Division In c,
79 Thompson Street
Springfield, Ma 01109
Cell: 617-939-5417.

Toll Free; 888-680-4667
Fax: 888-726-8386

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Case 4:19-cv-11093-TSH

 

 

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Document 120-4 Filed 07/29/21 Page 4 of 83

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COMMONWEALTH COMMUNTIY RECOVERY DIVUIQN LLC GCC RD }

 

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Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 5 of 83

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Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 6 of 83

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Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 7 of 83

 

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Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 8 of 83

 

 

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Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 9 of 83

 

 

 

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Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 10 of 83

 

 

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Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 11 of 83

 

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Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 12 of 83

 

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Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 13 of 83

 

 

 

 

 

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Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 15 of 83

Badgley, Rebecca

 

From: Badgley, Rebecca

Sent: Tuesday, August 06, 2019 12:29 PM
To: paul jones; Champagne, Jessica
Subject: RE: Regarding : qryde app for vendors
Hello Paui,

{ was not in the office as | was on vacation and Jessica was working on your issue,

You currently have in the system Mon — Fri from 700am ta 2pm 30 trips per hour as your capacity and from 2 to 3pm 21
trips per hour as your hours of operation are listed as 7am to 3pm Man — Fri and Sat and Sun from 7am to 1pm with

your capacity set at 25 trip per hour.

Our records indicated that you currently only have 3 vehicles that are have been reported to us as being used on your
contract. This is more than a reasonable amount of capacity per hour for your fleet size.

The reason that you may be being offered the “same trips” as you have indicated would be that you have rates for
specific cities as well as from a specific city to all and you currently have both Taxi and DAR rates. The system will start
at the lowest and if those are the trips that are available to be offered they could then be offered again at your next

rate.

Have you increased the size of your fleet? If you have please update your venicle log as is required by contact and we
can further discuss,

Rebecca L. Badgley
MART Divector of Brokerage Operationy
978-665-2828

From: paul jones [mailto:cerdcorp@gmail.com]
Sent: Tuesday, August 06, 2019 11:58 AM
To: Champagne, Jessica; Badgley, Rebecca
Subject: Re: Regarding : gryde app for vendors

Hello I am writing in regards to my request I sent to have my capacity changed on August 1, 2019, as I stated

we are not receiving enough rides currently I have laid off 3 workers due to not enough work, the employees are
in need of work, please increase my capacity tab so we can compete with other Vendors in the bidding process
to receive much-needed work, currently we are offered the same trips throughout the day over and over, we
have made a record of al! offered through the portal and the call out IVR system if MART needs proof that we
are offered the same trips back to back causing us to have to keep denying the same trips sometimes up to 7
times a day, please assist in our efforts to obtain enough trips to keep our employees.

Today we only had 24 round trips (See attached CVS file) that were spread out, only two employees were able
to work today, this has been going on since about June 18, 2019, Thank you.
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 16 of 83

Badgley, Rebecca

Fram: paul jones <cerdcorp@gmail.com>

Sent: Wednesday, January 09, 2019 12:40 PM

To: Badgley, Rebecca

Subject: Follow up

Attachments: Jan 2 2018.JPG; jan 5 2019.JPG; jan 4 2019.JPG; jan 3 2018.JPG; jan 6 2019,JPG; jan 7

2018 wrong misleading.JPG; jan 7 2019 capacity wrong economically damaged.JPG; jan
8 misleading capacity.JPG

Follow Up Flag: Follow up
Flag Status: Flagged

Hello, Rebecca, when you called today I was very busy here, is problems that I see with CCRD INC getting ride
offers, as I stated today I have taken a vehicle off the road and had to lay off a worker due to not enough work I
; only have 3 employees now there's only two left,
be
1, 90% of our offered rides and standing orders are from 7-10 am as we are open from 7-3pm daily, please
review attached daily capacity for the last several days we only have 6-8 trips after 10 am.
2. You asked what areas are we interested in receiving calls we are interested in receiving calls for all the areas
we are bidding in, we were under the impression that we would be getting multiple offers in the same area but
we don't. We are in need of multiple job offers in different areas example Palmer, Ludlow, Agawam, Granby
etc, we would like to have multiple job offers so the trip can be cost-effective, the trip is not cost effective if we
have to drive 10 or 15 miles just to bring one client this is what we have been experiencing.

3. 90% of all our job offers are from 7 am -10 am we can only except so many of these trips as we don't receive
many job offers between 11 am & 3 pm we are in need of job offers at that time, we have always received job
offers at all tirne of the day , I am asking if you can accommodate us in receiving jobs during 11 am & 3 pm
also Thank you.

4. I am asking if we can start receiving job offers where ever we have bids for such as Westfield, Wilbraham,
ware, Palmer Ma etc.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Springfield, Ma 01109

Cell: 617-939-5417

Tol! Free: 888-680-4667
Fax: 888-726-8386

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Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 17 of 83

From: paul jones [mailto:ccrdcorp@gmiail.com]
Sent: Wednesday, December 26, 2018 12:36 PM

Ta: Moyo, Michelle
Subject: Re: Compliance / Portal issue Dec 26,2018 - CCRD

Please inform me the procedure for us to change our hours of operation in the vendor capacity who do J email
or call when we need to update our capacity.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Springfield, Ma 01109

Cell; 617-939-5417

Toll Free: 888-680-4667
Fax: 888-726-8386

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On Wed, Dec 26, 2018 at 11:32 AM Moyo, Michelle <Michelle. Moyo@mrla.us> wrote:

Paul,

Vendors are not authorized to make changes to the Vendor Capacity or the Vendor Capacity Distribution. That is only
for MART staff because we make adjustments based on the information that a vendor provides with regard to the
number of employees and vehicles they have. We do not want vendors setting themselves at capacities that are well
above what they are realistically able to accommodate, No vendor has access to adjust their capacity. Thank you.

Michelle Moyo
Program Management Department

Vendor Compliance Agent
eh
ye
A

Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 18 of 83

Also, CCRD INC did not except trip Mitchel. M R121067 & RI21068, this trip is for 5:30 am in the morning
we don’t open until 7 am, this trip will deprive all CCRD INC employees of their family responsibility and put
undue pressure on our agency, please remove it we did not except the trip it is for January 2, 2018 & January 3,
2018 Thank you please advise.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Springfield, Ma 01109

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sender and delete the material from any computers,

On Wed, Dec 26, 2018 at 1:00 PM Moyo, Michelle <Michelle. Moyomrta.us> wrote:

Good afternoon,

If you wish ta change your hours of operation, you will need to fill out the attached form and submit it back to MART.
You will need to list the hours that your company will be open for each day of the week, As stated in my previous email,
vendors da not have access to updating their capacities, as that is something that only MART can do. Thank you.

Michelle Moyo

Program Management Department
Vendor Compliance Agent
michelle moya(edmrtaus

(978) 665-2864

Fax: (978) 342-1053
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 19 of 83

Badgley, Rebecca

From: Monk, Robert

Sent: Tuesday, May 11, 2021 12:19 PM

To: Badgley, Rebecca

Subject: FW: Cannot Downloan my new rate-CCRD
Importance: High

= Original Message-—

From: Monk, Robert

Sent: Thursday, December 13, 2018 12:16 PM

To: paul jones <ccrdcorp@gmail.com>

Cc: DMAContracts <BrokerageContracts@MRTA.US>
Subject: RE: Cannot Downloan my new rate-CCRD

I'm glad it worked.

Please let me know if you require any further assistance.
WIth thanks,

Bab

Robert A. Monk, Jr.

Sr. Staff Assistant, Program Management
Montachusett Regional Transit Authority
Ph: (978)- 665-2806

Fax: (978)-342-1063

From: paui jones (mailto:ccrdcorp@gmall.com]
Sent: Thursday, December 13, 2018 11:12 AM

To: Monk, Robert

Subject: Re: Cannot Downloan my new rate-CCRD

It's working now, so | downloaded will sign and send in, please disregard the screenshots | printed out signed and sent
into you, these downloaded signed rates will arrive in few days certified number

7015 1520 0000 1814 3901 Thank you.

Paul Jones / Director

Commonwealth Community
Recovery Division Inc.
79 Thompson Street

Springfield, Ma 01109
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 20 of 83

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Toll Free: 888-680-4667

Fax: 888-726-8386

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On Thu, Dec 13, 2018 at 9:03 AM Monk, Robert <Robert.Monk@mrta.us> wrote:

>

> Paul,

> | just viewed your portal and you should be able to download your rates. There was an error early in the week
that prevented many vendars from downloading. That being said, simply click "Download rates" in your rates section of
the Vendor Portal. Three icons will appear in the upper left: "Print", a PDF icon, and "Back to MH rates”---yau MUST
click the PDF fcon- your rates will then be printable, Print one copy, sign it, and mail it to us. We need to receive the
rates on or before the 21st-—plenty of time.

> Please let me know if you are successful...

> With thanks,

> Bob

> Robert A. Monk, Jr,

> Sr. Staff Assistant, Program Management Montachusett Regional Transit

> Authority

> Ph: (978)- 665-2806

> Fax: (978)-342-1063

>

>

>

>

> -—-Original Message-----

> From: paul jones [mailto:cerdcorp@ gmail.com]

> Sent: Thursday, December 13, 2018 8:57 AM

> To: Monk, Robert; Moyo, Michelle

> Subject: Re: Cannot Downloan my new rate

>

> Dear Robert Monk & Michelle Moyo,

>| wrote you guys on Dec 11, 2018, 7:18 am and informed you that | could not download my new rates so | could send
them in, Robert Monk responded and said " You won’t be able to download your rates until after 11:00 AM, or so on Dec
11, 2018 " it has now been several days and | still can't download my rates, | also was not able to change my rate until
Dec 13, 2018, three days after the start date to change rates CCRD INC loss three days to change rates.

>

> With that said it is something going on with CCRD INC access to the portal as it has been for months, | am writing to
ask for a waiver of sending in my signed rates so they can take effect on January 1, 2018, please let me know if MART
will grant me the waiver and also if you guys can please fix my portal this is causing us economic harm Thank you.

>

> Paul Jones / Director

>

> Commonwealth Community
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 21 of 83

>
> Recovery Division Inc.
>

> 79 Thompson Street
>

> Springfield, Ma 01109
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> Cell: 617-939-5417

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>

> Paul Jones / Director

>

> Commonwealth Community
>

> Recovery Division Inc.

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> 79 Thompson Street

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> Springfield, Ma 01109

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receive this email in error, please contact the sender and delete the material from any computers.

>

>

>

> On Tue, Dec 11, 2018 at 8:14 AM Monk, Robert <Robert.Monk@mrta.us> wrote:

>>

> > You won’t be able to download your rates until after 11:00 AM, or so.

>>

> > Bob

>>

>>

>>

> > From: paul jones [mailto:ccrdcorp@gmail.com]
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 22 of 83

> > Sent: Tuesday, December 11, 2018 7:19 AM

>>To: Moyo, Michelle; Monk, Robert

> > Subject: Cannot Downloan my new rate

>>

>>

>>

> > Good Morning for some reason my new rates cannot be downloaded can you please tell HBSS to allow me to access
my downloads (New Rates) Thank you.

>>

>>

> > Paul Jones / Director

>>

> > Commonwealth Community

>>

> > Recovery Division Inc,

>>

> > 79 Thompson Street

>>

> > Springfield, Ma 01109

>>

> > Cell: 617-939-5417

>>

> > Toll Free: 888-680-4667

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Badgley, Rebecca

From: Badgley, Rebecca

Sent: Tuesday, October 03, 2017 4:16 PM

To: paul jones

Ce: Small-Borsellino, Sharna (EHS); sandy.mulcahy@state.ma.us;
joseph.|.harrington@state.ma.us

Subject: RE: FW: DUANE.B 4133336520

Hello Paul,

fam sorry to hear that things are not going well. As | previously recommended, | would suggest that maybe you branch
out to other venues in additian to contracting with MART. For example, both Commonwealth Care Alliance and Tufts
Unify/Network Health have One Care members that require transportation services that are very similar in nature to our
transportation and you could reach out to them about becoming a vendor with them directly as well.

As previously discussed and confirmed with you, your company has complete access to the vendor

portal. Transportation that is scheduled 3 days a more in advance is going out through the vendor portal auto assign
based on vendor bid prices for the trips. | did take a look at your rates and they continue to be on the high side which is
why you are seeing little to no trips in advance through the vendor portal. As many of the trips are being accepted by
vendors with lower bid prices. You are getting the bulk of your calls from the vendor call out and scheduling members
due to the fact that there is same day and next day work and the other vendors are at capacity and we have reached

your company’s trip rate for coverage.

| looked into the fines that you received and regarding the returned work and they are valid in nature: Tracy A. for
8/31/17 you accepted on 8/30/17 at 8:40:57am from the vendor call out SNS-IVR and then sent an email at 4:04 pm
indicating that you did not have capacity to take her as you had other trips booked in area’s far from her. Shamlah G for
8/30/17 you accepted from the vendor portal on 8/24/17 at 3:02:27pm and returned on 8/28/17 at 7:05pm along with
Tiffany C accepted at 3:02:29pmand Victor P who you accepted on 8/28/17 at 6:00:41pm; there was not “MART

Staff’ intervention and there was nothing “placed in your portal”, this was accepted from with-in your secure portal

under your company log in.

The only issue with the automated systems was the SNS-IVR vendor call out where due tc the phone prompts being the
same number to listen to the job and then to accept the job and through testing it was determined that some
smartphones and devices were sensitive and would take the 1 twice placing the first trip as accepted even if the vendor

did not hear or mean to accept the job.
MART corrected this issues as soon as it was identified and made changes so that different numbers were required to be

used these changes were completed and put inta effect at the beginning cf July so this has no bearing on the fines
received for the return work.

Regarding the on board camera, that staff should not have fined you for that and this was addressed when your appeal
was sent and | apologize for any inconvenience.

If you could give me some additional information on the individuals that you say cancelled | will be happy to lock into
those. Ifa member cancels in advance we do not make a teiephone call to the vendor as it is cancelled in our system
and would then no longer show on you end of day report. However, if a client cancels after 3pm in the afternoon for the
next day the staff then call the vendor directly as he/she may have already starting to work on driver’s schedules for the
next day, but priar to that time vendors are not even allowed to download schedules from the vendor portal.

lf | can be of any further assistance please feel free to contact me.

i
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 24 of 83

Rebecca l. Badgley

Montiachusett Regional Transit Authority
Divector Of Brokerage

978-665-2828

Fram: paul jones [mailto:ccrdcarp@gmail.com]

Sent: Monday, October 02, 2017 9:13 PM

To: Badgley, Rebecca; Small-Borsellino, Sharna {EHS}; sandy.mulcahy@state.ma.us; joseph.|.harrington@state.ma.us
Subject: Re: FW: DUANE.B 4133336520

Hellp Rebbecca,
Thanks for the reply as I had the wrong email address, I am writing to inform you that things have changed for
the worst since we had the meeting in March with Sharna Small & Sandy Mulcahy to iron out the portal

differences.

" As of Monday I have laid off 2 drivers due to not enough work for them this is financially killing CCRD, as gas

and Insurance has gone up , we are back down to one driver and a part time volunteer after two years of
working with MART not enough work and or access to the portal.

CCRD INC has had problems with non cost effective trips miles popping up in our portal and when we inform
the scheduling department we are charged $100 for each call. They are called returned when we never accepted
the calls (See $400 Fine attached) this has never happened to CCRD before, but it was an issue with MARTS
portal a few months ago calls being assigned to vendors portals inadvertently,

This is a green light to reduce CCRD work and to fine us. I informed Ivan Roman in August when these issues
came up that we did not accept these trips as we did not have the capacity to take on trips outside of the area
where we were working that day. I have been inadvertently emailing you since July with the wrong email
address.

CCRD has also been given a $100 fine for having a dash cam in our vehicles to protect the drivers and also the
clients, we were told that our 2008 Ford Edge that we pay a car note for belongs to MART and is a MART
vehicle, a $100 fine was given to CCRD and we appealed, the fine was change in the portal to FILE and stated
"Just make sure stickers are in car informing clients" which they arc, that issue was very stressful for 3 weeks
(We have original image of fine being accessed).

CCRD trips are still 90% given to us by the Automatic Dialing System which causes us not to be able to
compete with any other vendors, 95% of our calls are hand picked and sent through the Automatic Dialing
System and are not cost effective.

This causes CCRD not to be able to book cost effective trips for our drivers and to create a schedule that is cost
effective, this is really killing our company as other vendors have the ability to book cost effective trips through
the vendor portal for their drivers thus saving gas and & tear on vehicles,This allows a company to go from two
vehicles to sometimes as much as 10 vehicles, if this portal is taken away no growth can come to a vendor like

CCRD.
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 25 of 83

Also if you look at the portal we have had several trips that clients state that they had cancelled the trip days
before but CCRD was never informed thus waisting gas this is an every day occurrence, two clients have
informed me this evening that they have cancelled tomorrows trips with MART, this causes us to waist gas

every day.

Yes we have turned down a few calls in the last 90 days because they are not cost effective and or in the same
area where our trips are that day, those trips were not in the best interest of CCRD.

| am asking for help in this matter if things don't change I have to take vehicles off the road and lay off my
drivers as this is the sixth driver that was laid off because of lack of work, I dont understand why CCRD cant
seem to be consist ant like other vendors that have even started in the last six months, CCRD has not been able
to make a profit since becoming a vendor with MART, we barely cover our expenses something is very wrong,|

ain.

I am reaching out again to ask for help with these problems as CCRD cannot grow or have enough work for 3
drivers after almost 2 years because of access to the portal to book cost effective trips Thank you.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Springfield, Ma 01109

Cell: 617-939-5417

Toll Free: 388-680-4667
Fax: 488-726-8386

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sender and delete the material from any computers,

On Mon, Oct 2, 2017 at 2:36 PM, Badgley, Rebecca <rebecca.badwlevietmria.tis> wrote:

Paul,

This member has been excluded at your company’s request and you will not be offered his trips in the future. Issues of
this nature are handled by our Quality Assurance Department se it was actually handled fram the complaint that you

put in the vendor portal Friday night.

Please make sure that you have my email address correct as | did not received this initial correspondence it is as
follows: Rebecca. Badgley@mrta.us
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 26 of 83

Respectfully,

Rebecciwl, Badgley
Montachiuell Regionad Transit Authorely
Divector of Brokerage

YEE 665-2828

 

 

 

From; Mulcahy, Sandy (EHS) [mailto:sandy.mulcahy@state.ma.us]
Sent: Monday, October 02, 2017 11:44 AM

To: Badgley, Rebecca

Subject: FW: DUANE.B 4133336520

 

Hi Becky, has this been addressed?

Santon J Maloahg

Brokerage Operations Manager
EOHHS Human Service Transportation Office
100 tinvack Suet. 6" Floor

Quincy, MA 92171
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 27 of 83

Phone, B1F847-0559 / Fax: 61 7-SA2 6550

Seagal, Mdsidccrylebytine, ms

From: paul jones [mailto:cerdcorn@qmail.com)
Sent: Friday, September 29, 2017 10:48 PM
To: Mart Robecca Badgley; Small-Borsellino, Sharna (EHS); Mulcahy, Sandy (EHS); Harrington, Joseph (EHS)

Dear Robecca Badgley,

1 am writing to inform you that I Paul Jones reported on September 27, 2017 that athe above client had a pick
up at 830a and called the office at aproximitly 7:50an and called me racial slurs, MART called a few minutes
later and I informed them what happen the phone operator stated that she would inform her supervisor, a few
minutes later DUANE.B 4133336520 was removed from my portal,

Today I downloaded my Saturday Schueduel and we have received this client once again after he has used
racial slurs and demanded to only be picked up by a white driver, I am writing to ask that this person be
removed perminitly from CCRD INC portal to protect us from this abuse and unfounded complaints from this

client.

Any questions you have regarding this matter please fee] free to contact me Thank you.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Sircet
Sprinuteld, Ma 06100

Cell: 617-939-5417

Fax: 888-726-8386

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Badgley, Rebecca

From: Badgley, Rebecca

Sent: Monday, June 05, 2017 9:04 AM
To: paul jones

Subject: RE: MART rates:

You are very welcome

From: paul jones [mailto:ccrdcorp@gmail.com]
Sent: Monday, June 05, 2017 8:17 AM

To: Badgley, Rebecca

Subject: Re: MART rates:

Thank you very much
Sent from my iPhons

On Jun 4, 2017, at 2:40 PM, Badgley, Rebecca <rebecca badvlevirimrta.us> wrote:

Paul
An upgrade was being done on the portal no vendor we able to do this Friday it should be all set
now.

Rebecca
Sent from my iPhone
On Jun 2, 2017, at 2:50 PM, Badgley, Rebecca <rebeeca.badgleviinrtasis> wrote:

Paul,

| just got out of a meeting and received your email. | have check the roles in the vendor
portal and shaw that you have the appropriate roles indicated. | have contact our
programmers to check for any other issues and will get back to you as soon as | get a
response.

Rebecca l, Badgley

Montachinet Regionad Tranut Authority
Divector of Brokerage

978-665-2828

From: paul jones [mailio:cerdcorp@pimail.com]}
Sent: Friday, June 02, 2017 1:15 PM
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 29 of 83

To: Badgley, Rebecca; Badgley, Rebecca
Subject: Fwd: MART rates:

Good afternoon Robecca Badley,

You told me if I needed any assistance to let you know, I am writing to ask if you
could inform the correct department to make adjustments to my vendor portal so
that we could change our rates, it is not letting me adjust my rates so that we can

be competitive.

I communicated with Ivan by email last month and he assured me that I would be
able to change my rates next month which is now June, June {st through the 10th
2017, but I am unable to.

I emailed Ivan yesterday but he may be out of office or just very busy as I don't
want to missed the dead line date to adjust our rates, changing our (CCRD INC)
rates is key to most of our problems with the portal as we need to be
competitive in order to stay in business and to be able to keep driver, Thank you

for your time.

Paul Jones / Director
Commonwealth Community
Recovery Division Ine.

79 Thompson Street
Springfield, Ma 01109

Cell: 617-939-5417

Tol] Free: 888-680-4667
Fax: 888-726-8386

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wonecenn ne Forwarded message ------—--
From: paul jones <cerdcorp/igmatl_ com>
Date: Thu, Jun 1, 2017 at 3:51 PM

Subject: Re: MART trates:

To: "Roman, Ivan" <Ivan. Romaine nirtaus>

Dear Ivan,
I am unable to adjust my rates as of today June 1, 2017 please assist me thank you

Sent from my iPhone
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 30 of 83

Dear Vendor,

Please review the attached memo being forwarded from MART’s
Mass Health Sr. Program Manager Karen Cordio regarding rate
changes.

Sincerely,

foan Roman
Avet, Projeot Coordinator (MAR 7)
Plane 978-353-0333 ent, 2854

Fae 978-342-1053

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<RATE CHG MEMO.docx>
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 31 of 83

Lisa M. Kenepp

From: Monk, Robert <Robert. Monk@MRTA.US>
Sent: Tuesday, May 11, 20217 12:16 PM

To: Badgley, Rebecca

Subject: FW: CCRD INC RATE CHANGE
Importance: High

From: Moyo, Michelle

Sent: Tuesday, November 6, 2018 2:41 PM

To: paul janes <ccrdcorp@gmail.com>

Cc: DMAContracts <BrokerageContracts@MRTA.US>
Subject: RE: CCRD INC RATE CHANGE

Good afternoon,

You will not be able to change your rates until it is time to upload your rates in December. Even if you try to
save changes, they will not save until it is time to change your rates. If you have any other questions, please let us know.

Thank you.

Michelle Moyo

Program Management Department
Vendor Compliance Agent
michelle. moyowmrta.us

(978) 665-2864

Fax: (978) 342-1053

 

From: paul jones [(mallto:ccrdcorp@gmail.com]
Sent: Tuesday, November 06, 2018 11:15 AM
To: Moyo, Michelle

Subject: CCRD INC RATE CHANGE

Good Morning Michelle<
I see that my rate are able to be changed as of today | was under the impression that the next rate change was

Dec 2018, currently, ] am not interested in changing the rates until Dec 2018.

If it is a glitch can you please make it where they cant be changed so no mistakes happen Thank you.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Springfield, Ma 01109

Cell: 617-939-5417
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 32 of 83

Toll Free: 888-680-4667
Fax: 888-726-8386

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Lisa M. Kenepp

From:
Sent:
To:
Subject:

Monk, Robert <Robert. Monk@MRTA.US>
Tuesday, May 11, 2021 12:13 PM

Badgley, Rebecca

FW: CCRD- vendor portal training

From: paul jones [mailto:ccrdcorp@gmail.com]
Sent: Friday, October 12, 2018 4:00 PM

To: Monk, Robert <Robert.Monk@MRTA.US>
Subject: Re: CCRD- vendor portal training

Yes | will be there thank you

Sent from my iPhone

On Oct 12, 2018, at 3:10 PM, Monk, Robert <Robert. Monk@MRTA.US> wrote:

Paul,

Page 33 of 83

As stated in the past as now, what | described in the e-mail is what will be reviewed. There is no
intense portal training reviewing each and every aspect of the portal. It is merely an overview with
general information of how to navigate the system, which you probably are already aware of most of
it. We also review the handouts | had given you the time you came in by yourself and we will address
general questions at the end. There are no videos currently, and though cd/videos have been discussed
in the past, there is no current anticipation of such. If you feel this will not be beneficial and because of
your travel time and distance, you are not obligated to come if you feel it may not be worth-while; you

will have to make that decision.
Please let me know if you wish to attend or not.

With thanks,

Bob

Robert A. Monk, Jr.

Sr. Staff Assistant, Program Management
Montachusett Regional Transit Authority
Ph: (978)- 665-2806

Fax: (978)-342-1063

From: paul jones [miailto:ccrdcorp@gmail.com)
Sent: Friday, October 12, 2018 3:00 PM

To: Monk, Robert

 

Subject: Re: CCRD- vendor portal training
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 34 of 83

Thank for you reply | am writing to see if during that vendor portal training will | get to view the portal
demo for a demonstration of how MARTS vendor portal works.

{t was not mentioned in your email, | was hoping to get actual vendor portal training that MART offers to
vendors as | never received actual Vendor demonstrations on how the vendor portal works, this will
answer most of CCRD INC questions regarding the Vendor Portal, please let me know if MART will be
offering vendor portal demonstration video at the vendor portal training. As you know | am almost two
hours away and an assistant will be also traveling 145 minutes to your office, | just want to be on the
Same page so | can be informed.

Please Jet me know because | didn’t see in your previous email that MART will be showing the Vendor
Portal! Demonstration video, or actual training on the vendor portal Thank you.

Sent from my iPhone

Paul,

We will be holding our next Vendor Portal Training on Friday October 19", 2018
from 1:00PM-3:00PM. The training class is to give you a general over-view of the
Vendor Portal, general policy and procedure, and to address common hurdles many
first-time vendors may encounter.

The address for training is:
MART

150 Main St.

Fitchburg, MA 01420

Please e-mail confirmation whether you will be able to attend or not. You
are allowed to bring one additional associate only and you are to park in the
large, four-story lot attached to our building (do not park in the reserved MART
spaces). The entrance is accessible on the 2-4 floor of the lot (MART signage is
on the door). Please contact me if you have any other questions or concerns.

With thanks,

Bob

Robert A. Monk, Jr.

Sr. Staff Assistant, Program Management
Montachusett Regional Transit Authority
Ph: (978)- 665-2806

Fax: (978)-342-1063
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 35 of 83

Lisa M. Kenepp

From: Monk, Robert <Robert.Monk@MRTA.US>

Sent: Tuesday, May 11, 2021 12:10 PM

To: Badgley, Rebecca

Subject: FW: CCRD INC 4th set of employees are ready leave our company again
Importance: High

From: Shumovskaya, Tamara
Sent: Monday, June 18, 2018 9:40 AM
To: paul jones <ccrdcorp@gmail.com>; Jessica, Torres <Jessica.Torres@MRTA.US>; Kukta, Amanda <Amanda-

T.Kukta@MRTA.US>; Monk, Robert <Robert.Monk@MRTA.US>; Badgley, Rebecca <rebecca.badgley@mrta.us>;

DMAScheduling <DMAScheduling@MRTA.US>
Subject: RE: CCRD INC 4th set of employees are ready leave our company again

Good Morning Paul,
Thank you for contacting Scheduling Department and myself. I also have received your voice

mail.

lam sorry to hear that your company is having difficulty with work load. Scheduling
Department representatives are only able to offer trips to the company that we have listed in the
system. We are offering trips according to our low cost bid system and not allowed to bypass
other vendors. We will contact your company as soon as we see it in this list .

Regards,

Tamara Shumovskaya

Scheduling Department Manager
Montachusett Regional Transit Authority
100 Main St, Fitchburg, MA
tamara.shumovskaya@mrta.us
978-665-2877

From: paul jones {mailte:ccrdcorp @gmail.com])
Sent: Monday, June 18, 2018 8:16 AM
To: Shumovskaya, Tamara; Jessica, Torres; Kukta, Amanda; Monk, Robert; Badgley, Rebecca; DMAScheduling

Subject: CCRD INC 4th set of employees are ready leave our company again

Good Morning Tamara,
I am writing to ask you if we can get some trips offered to us I and the employees here are depending on this job

to support our families, lately we have not been getting cost-effective trips. The trips we have been getting
offered for the last 7 days, would more than likely we will be late to and we would get a fine which we are

1
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 36 of 83

trying to avoid at all cost, because these trips are to far apart at the same times, and we are a very very small
company with three vehicles only.

We are in dire need of receiving some cost-effective work from MART, or CCRD INC will have no choice but
to lay off employees do to lack of offered work (Cost Effective Trips).

We are hoping that we can receive consistent work from MART because when this happens we lose all of our
workers because they cannot rely on CCRD INC to provide them with constant work.

This is why cerd inc has never been able to hold on to employees for 6 months, all of our employees have quit
because they say they cant count on us to provide consistent work, this has caused us to be unstable with our

employees.

If there is anything your department can do to help CCRD INC provide work to our employee, it will be
appreciated as they are all ready to leave the company once again, this will make the fourth group of employees
we have lost because we cannot prove them with work on a consistent bases, please consider ccrd inc to have
more cost-effective trips offered to us Thank you.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Springfield, Ma 01109

Cell: 617-939-5417

Toll Free: 888-680-4667
Fax: 888-726-8386

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Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 37 of 83

Lisa M. Kenepp

 

From: Monk, Robert <Robert.Monk@MRTA.US>

Sent: Tuesday, May 11, 2021 12:08 PM

To: Badgley, Rebecca

Subject: FW: FW: Fw: Re:TSR-4572 MITEL- new rate changes
Importance: High

From: paul jones [mailto:ccrdcorp@gmail.com]

Sent: Thursday, June 7, 2018 9:00 AM

To: Monk, Robert <Robert.Monk@MRTA.US>

Subject: Re: FW: Fw: Re:TSR-4572 MITEL- new rate changes

OK that's a deal, I will be ready for the next Vendor Portal Training on July 1, 2018, I have never gotten to see
what the portal should look like what it should do how to run reports I wasn't even aware that I could run daily
reports, the average time to cancel or mark trips no-shows, I need to know about the Ride Share program how

that works.

I could use briefing on Policy & Procedure which I have never had also, I believe this is why I have had some
problems because if a person is never given the information one cannot compete properly.

I also have questions regarding when will standing orders be offered as I received an email stating that standing
orders will be offered at 5 pm so the vendor can have more time to except them, Thank you very very much for
offering me a spot at the July 1, 2018 Vendor Training, J believe this will finally answer all the questions ] have

about the Vendor Portal.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Springfield, Ma 01109

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sender and delete the material from any computers.

On Thu, Jun 7, 2018 at 8:44 AM, Monk, Robert <Robert.Monké@?mrta.us> wrote:

Paul,

~
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 38 of 83

| spoke with Rebecca regarding the Vendor Training. Frankly, as you and | had discussed while you were here,
the VP Training did not nor will not enhance your knowledge or abilities regarding use of the Portal to any greater
degree than where your understanding is currently. By my observations, you are as well versed on the portal usage as
ANY current vendor we have. Your understanding of policy and procedure was what needed to be enhanced. Asa
result, during your one-on-one we reviewed several technical issues, we determined what areas to focus on to enhance
your trip offers (rates), | provided handouts of best-practices and common problem resolutions, and we even involved
HBSS in a few specific areas related to your circumstance. None of these problems would even be addressed in a VP
training, as it is simply an overview of what the site looks like, how to maneuver in the system, etc. Specific problems
such as you have are never discussed or examined in a VP training class. Any other issues specific to CCRD, we have
addressed via e-mail and phone conversations. That being said, if you are insistent that you believe you need to attend
a third VP training, we will include you in the next Vendor Portal Training when we on-board the next set of new
vendors. As we are currently in the midst of the Contract renewal period (you should be receiving yours this week), the
next Vendor Portal Training will be after July 1%. We will notify you of the date so you may schedule accordingly.

Please let me know if you have any other concerns, otherwise, continue with your rate changes if you haven’t
finished them already, and | will touch base with you.

With thanks,

Bob
Robert A. Monk, Jr.

Sr. Staff Assistant, Program Management
Montachusett Regional Transit Authority
Ph: (978)- 665-2806

Fax: (978)-342-1063

From: paul jones (mailto:ccrdcorp@gmail.com]
Sent: Thursday, June 07, 2018 8:21 AM

To: Monk, Robert

Subject: Re: FW: Fw: Re:TSR-4572 MITEL- new rate changes

Good Morning Robert,
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 39 of 83

Rebbecca said she was going to have you schedule another vendor portal training so I can view the Vendor
Portal Demo so I can have a full understanding of all the bells & whistle of the portal, Tuesday, June 12, 2018,
or Weds June 13, 2018 mornings are good for me please let me know Thanks.

Paul Jones / Director
Commonwealth Community

Recovery Division Inc.

79 Thompson Street

Springfield, Ma 01109
Cell: 617-939-5417

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Fax: 888-726-8386

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sender and delete the material from any computers.

On Tue, Jun 5, 2018 at 1:15 PM, Monk, Robert <Robert.Monk(@mrta.us> wrote:

 

Paul,

The bottom line, your capacity management is irrelevant to any problems or issues you are having. You
capacities have been increased several times despite your changes, however it doesn’t guarantee you'll be offered or
receive work. For example, you are allowed (because we set your capacities extremely high) to accept up to 30 trips
per hour during your normal business hours during the week. On Saturdays and Sundays, you can take up to 25 trips
per hour. Not that you can or will take that many trips, but they were set high in conjunction with trying to resolve
your lack of work, which in the end was determined to be your rates that are the real problem. Your capacity
distribution is 100%, meaning you will be allowed to fill 100% of your hourly trip allowance of 30/hour. Distribution is
only changed by MART, for example if a vendor is having Quality Assurance or Contract issues related to overbooking
or arriving late all the time for client pick-ups, we can reduce a vendor's work distribution immediately until problems

are resalved without interfering in already accepted trips.

| hope this addresses your questions related to capacity management, but as stated, it really is not of any important
consequence for you at this time. Once you start expanding and adding more vehicles and drivers and require more
work than you have been allotted, then we can visit Capacity Management and increasing as needed.

Please contact me if you have any questions or concerns.

With thanks,

Bob

Robert A. Monk, Jr.
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 40 of 83

Sr. Staff Assistant, Program Management
Montachusett Regional Transit Authority
Ph: (978)- 665-2806

Fax: (978)-342-1063

From: paul jones [mailto:cerdcorp@gmail.com]
Sent: Tuesday, June 05, 2018 12:49 PM

To: Monk, Robert
Subject: Re: FW: Fw: Re:TSR-4572 MITEL- new rate changes

Hello Robert,

I am writing to ask you what does it mean in the Vendor Capacity Distribution Section ( See

Attached Screenshot 2018-06-01 09.48.40) of the Vendor Portal that states "Last Updated by (CCRD) (VP)
On 05 Dec 2017, 9:48 AM” (See attached Screenshot 2018-06-01 09.48.40) this screenshot was taken on
June 1, 2018 at 9:48 am, and I had updated my Capacity over 15 times since 05 Dec 2017, 9:48 (See Attached
Screenshot 2018-05-04 06.47.40) & (Attached Screenshot 2018-05-11 08.01.56 ) it did not change when I
did so May 4th & 11th 2018, shouldnt it have changed, every time I update my capacity? I believe this is why
my capacity did not move, and I wasn't receiving any offered trips since September 2017 through the vendor
portal.

Also, | updated my capacity again on June 4, 2018, at 16:29 pm and it still said last time updated was 05
Dec 2017, 9:48 AM even after I refreshed the portal & closed portal out and logged back in a few times.

I checked the Vendor Capacity Distribution Section a couple of days ago and it stated "Last Updated by
(CCRD) (VP) On on or about 05 Dec 2017, 9:48 AM, and now I just check the Vendor Capacity
Distribution Section at 12:31 pm today ( See attached Screenshot Screenshot 2018-06-05 12.30.53)
now it states "Last Updated by (CCRD) (VP) June 4, 2018, at 16:29 pm . No updates reflected in
the Vendor Capacity Distribution Section since Dec 5, 2017, until or about June 4, 2018.

4
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 41 of 83

I just need these questions answered so I can compete against the vendors that understand these questions,
also it is imperative that I come back in and watch the Vendor Demo for the Vendor Portal, because if |
don't there will be plenty of questions still not answered, Please let me come back in an watch the Vendor
Demo for the Vendor Portal and i believe J will have a full understanding of the Vendor portal please let me

know as soon as time permits Thank you.

Paul Jones / Director
Commonwealth Community

Recovery Division Inc.

79 Thompson Street

Springfield, Ma 01109
Cell: 617-939-3417

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Fax: 888-726-8386

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On Mon, Jun 4, 2018 at 12:47 PM, Monk, Robert <Robert.Monk@mrta.us> wrote:

Excellent- so what was the error??

From: paul jones [mailto:cerdcorp@gmail.com]
Sent: Monday, June 04, 2018 12:40 PM

To: Monk, Robert
Subject: Re: FW: Fw: Re:TSR-4572 MITEL- new rate changes

All set I am in and up loading my Dial a ride rates

Paul Jones / Director

Commonwealth Community
Recovery Division Inc.
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 42 of 83

79 Thompson Street

Springfield, Ma 01109
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On Mon, Jun 4, 2018 at 12:32 PM, Monk, Robert <Robert.Monk(@mrta.us> wrote:

From: Sam TechSupport [mailto:ts_sam@hbssweb.com]
Sent: Monday, June 04, 2018 12:10 PM

To: Monk, Robert
Subject: RE: Fw: Re:TSR-4572 MITEL- new rate changes

Hi Robert ,

Please accept the following support link so that we can check this.

https://www.fastsupport.com/264445048

Regards,

Sam
On June 4, 2018 at 9:13 PM "Monk, Robert" <Robert.Monki@MRTA.US> wrote:
It is the same error- when adding the new DAR rate, the “O” that appears in the “second attendant
fee” disappears. Then when the vendor hits the submit, the error “no 0’s allowed” pops up and the

second attendant fee in unalterable.

Thanks,
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 43 of 83

Bob

From: Sam TechSupport [mailto:ts_sam@hbssweb.com])
Sent: Monday, June 04, 2018 11:34 AM

To: Monk, Robert

Subject: RE: Fw: Re:TSR-4572 MITEL- new rate changes

Hi Robert,

Can you please share some more information like, any error message etc while entering the
DAR rates for these two vendors,

Regards,

Sam

On June 4, 2018 at 8:24 PM "Monk, Robert" <Robert.Monk‘@MRTA.US>
wrote:

Sam,

In reviewing this vendor situation, we have another vendor with the exact same
issue, HB Livery Service (HBLS). I’ve discerned, however that both vendors ONLY
have ever had TAXI rates and have never submitted DAR rates. Could the problem
be that they are unable to add DAR rates because they have never had them before
and we at MART need to submit the first set of DAR rates? Please advise....

With thanks,

Bob

Robert A. Monk, Jr.
Sr. Staff Assistant, Program Management
Montachusett Regional Transit Authority

Ph: (978)- 665-2806
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 44 of 83

Fax: (978)-342-1063

From: Sam TechSupport [mailto:ts sam@hbssweb.com]
Sent: Friday, June 01, 2018 4:29 PM

To: Monk, Robert

Cc: Badgley, Rebecca; hbss techsupport@hbssonline.com
Subject: RE: Fw: Re:TSR-4572 MITEL- new rate changes

Hi Robert,

We tried to call you but it reached on VM. Please confirm with vendors that
he have refreshed the browsers as per instruction sent earlier.

Without the browser refresh this issue will continue to show up.

Regards,

Sam

On June 2, 2018 at 12:32 AM "Monk, Robert"
<Robert.Monki@MRTA.US> wrote:

Mitel/Sam,

The vendor from his own portal, still cannot add new DAR rates----
the second attendant fee disappears and once he hits submit, the
same error message of no 0’s allowed appears and he can’t add
them.... Please advise...

From: Sam TechSupport [mailto:ts sam@bhbssweb.com]
Sent: Friday, June 01, 2018 1:50 PM

To: Monk, Robert

Cc: hbss_techsupport; Mita! Parikh

Subject: Re: Fw: Re:TSR-4572 MITEL- new rate changes
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 45 of 83

Hi Robert,

This has been taken care of.

Any vendor who have this problem needs to press CTRL +
FS or Hold shift-key and click on Refresh icon(refer image)
to clear the browser cache as shown below:-

€

 

Cl @ Secure pttps

 

 

 

= ~~ @

efreshicon

Please let us know if you have any question.

Thanks,

Sam

On June 1, 2018 at 10:12 PM Mital Parikh

<Mitali@gqryvde.com> wrote:

From: Monk, Robert <Robert.Mank@MRTA.US>
Sent: Friday, June 1, 2018 12:41 PM

To: Mital Parikh

Cc: Badgley, Rebecca

Subject: RE: Re:TSR-4572 MITEL- new rate changes

Mital,

Actually, in walking through the process of adding
the new rate with the vendor, when you alter the
trip type to DAR, the “O” in the second attendant
fee disappears and the rate still will not upload
because itis blank.... It still is not working...

Please advise.

Bob
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 46 of 83

From: Mital Parikh (mailto; Mital@qrvde.com]
Sent: Friday, June 01, 2018 12:33 PM

To: Monk, Robert; Sam TechSupport

Cc: hbss_techsupport

Subject: Re: Re:TSR-4572 MITEL- new rate changes

What was fixed to address the issue ?

From: Sam TechSupport <ts_sam@hbssweb.com>
Sent: Friday, June 1, 2018 12:27:01 PM

To: Robert Monk

Cc: Mital Parikh; hbss_techsupport

Subject: Re: Re:TSR-4572 MITEL- new rate changes

Hi,

This has been taken care of.

Regards,
Sam

On June 1, 2018 at 9:20 PM Sam
TechSupport

<ts sam@hbssweb.cam> wrote:

Hi,

We are looking into this and will
get back to you with an update.
Your reference number for this

request is TSR-4572 .

Please refer to that in any

further communications for this
request.

10
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 47 of 83

Regards,

Sam

On June 1, 2018
at 8:52 PM Mital
Parikh
<Mital@qryde.co

m> wrote:

From: Monk,
Robert

<Robert.Monk@M
RTA.US>

Sent: Friday, June
1, 2018 11:06 AM
To: Mital Parikh
Cc: Badgley,
Rebecca

Subject: RE: MITEL-
new rate changes

Mital,

It appears in all
regions. | do
have one
question- | recall
Ivan stating at
some point, but |
don’t know if it is
true- the rate
changes- is that
set for a specific
time for the
vendors to start
inputting new
rates? Is it like
the take-away

11
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 48 of 83

trips on the
portal, they occur
at a specific time?
Example- at
11:30 AM- will
they be able to
input new rates
because that is
the designated
time for rates-
change
activation?

Please advise.
With thanks,

Bob

Robert A.
Monk, Jr.

Sr. Staff
Assistant,
Program
Management

Montachuset
t Regional
Transit
Authority

Ph: (978)-
665-2806

Fax: (978)-
342-1063

12
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 49 of 83

From: Monk,
Robert

Sent: Friday, June
01, 2018 10:51
AM

To:

‘mital@gryde.co

m
Cc: Badgley,
Rebecca
Subject: RE:
MITEL- new rate
changes

Mital,

Also of note- we
experimented
only in the
pioneer valley
with the two
vendors... | will
see if the same
holds true in
other regions and
get back to you.

With thanks,

Bob

Robert A.
Monk, Jr.

Sr. Staff
Assistant,
Program
Management

Montachuset
t Regional

13
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 50 of 83

Transit
Authority

Ph: (978)-
665-2806

Fax: (978)-
342-1063

From: Monk,
Robert

Sent: Friday, June
01, 2018 10:46
AM

To:

'mital@gqryde.co
im’

Cc: Badgley,
Rebecca

Subjeet: MITEL--
new rate changes

Robert A.
Monk, Jr.

Sr. Staff
Assistant,
Program
Management

14
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 51 of 83

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t Regional
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Ph: (978)-
665-2806

Fax: (978)-
342-1063

15
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 52 of 83

Lisa M. Kenepp

From: Monk, Robert <Robert.MonkK@MRTA.US>

Sent: Tuesday, May 11, 2021 12:07 PM

To: Badgley, Rebecca

Subject: FW: FW: Fw: Re:TSR-4572 MITEL- new rate changes
Importance: High

From: paul jones (mailto:ccrdcorp@gmail.com]
Sent: Tuesday, June 5, 2018 1:25 PM
To: Monk, Robert <Robert.Monk@MRTA.US>; DMAContracts <DMAContracts@MRTA.US>

Subject: Re: FW: Fw: Re:TSR-4572 MITEL- new rate changes

Thanks, I understand about the Capacity You answered that for me, I will adjust all my rates to be competitive,
I have downloaded the latest CSV file from MARTS website and will adjust accordingly, I still want to view the
Vendor Portal Demo please let me know about that thanks.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Springfield, Ma 01109

Cell: 617-939-5417

Toll Free: 888-680-4667
Fax: 888-726-8386

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On Tue, Jun 5, 2018 at 1:15 PM, Monk, Robert <Robert.Monki@mrta.us> wrote:

Paul,

The bottom line, your capacity management is irrelevant to any problems or issues you are having. You
capacities have been increased several times despite your changes, however it doesn’t guarantee you'll be offered or
receive work. For example, you are allowed (because we set your capacities extremely high) to accept up to 30 trips
per hour during your normal business hours during the week. On Saturdays and Sundays, you can take up to 25 trips
per hour. Not that you can or will take that many trips, but they were set high in conjunction with trying to resolve
your lack of work, which in the end was determined to be your rates that are the real problem. Your capacity
distribution is 100%, meaning you will be allowed to fill 100% of your hourly trip allowance of 30/hour. Distribution is
only changed by MART, for example if a vendor is having Quality Assurance or Contract issues related to overbooking or
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 53 of 83

arriving late all the time for client pick-ups, we can reduce a vendor's work distribution immediately until problems are
resolved without interfering in already accepted trips.

| hope this addresses your questions related to capacity management, but as stated, it really is not of any important
consequence for you at this time. Once you start expanding and adding more vehicles and drivers and require more
work than you have been allotted, then we can visit Capacity Management and increasing as needed.

Please contact me if you have any questions or concerns.

With thanks,

Bob

Robert A. Monk, Jr.

Sr. Staff Assistant, Program Management
Montachusett Regional Transit Authority
Ph: (978)- 665-2806

Fax: (978)-342-1063

From: paul jones [mailto:ccrdcorp@gmail.com

Sent: Tuesday, June 05, 2018 12:49 PM

To: Monk, Robert
Subject: Re: FW: Fw: Re:TSR-4572 MITEL- new rate changes

Hello Robert,

[ am writing to ask you what does it mean in the Vendor Capacity Distribution Section ( See

Attached Screenshot 2018-06-01 09.48.40) of the Vendor Portal that states "Last Updated by (CCRD) (VP)
On 05 Dec 2017, 9:48 AM" (See attached Screenshot 2018-06-01 09.48.40) this screenshot was taken on June
1, 2018 at 9:48 am, and I had updated my Capacity over 15 times since 05 Dec 2017, 9:48 (See Attached
Screenshot 2018-05-04 06.47.40) & (Attached Screenshot 2018-05-11 08.01.56 ) it did not change when | did
so May 4th & 11th 2018, shouldnt it have changed, every time I update my capacity? I believe this is why my

2
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 54 of 83

capacity did not move, and I wasn't receiving any offered trips since September 2017 through the vendor
portal.

Also, I updated my capacity again on June 4, 2018, at 16:29 pm and it still said last time updated was 05
Dec 2017, 9:48 AM even after I refreshed the portal & closed portal out and logged back in a few times.

I checked the Vendor Capacity Distribution Section a couple of days ago and it stated "Last Updated by
(CCRD) (VP) On on or about 05 Dec 2017, 9:48 AM, and now I just check the Vendor Capacity
Distribution Section at 12:31 pm today ( See attached Screenshot Screenshot 2018-06-05 12.30.53)
now it states "Last Updated by (CCRD) (VP) June 4, 2018, at 16:29 pm. No updates reflected in
the Vendor Capacity Distribution Section since Dec 5, 2017, until or about June 4, 2018.

I just need these questions answered so | can compete against the vendors that understand these questions, also
it is imperative that I come back in and watch the Vendor Demo for the Vendor Portal, because if I don't there
will be plenty of questions still not answered, Please let me come back in an watch the Vendor Demo for the
Vendor Portal and i believe | will have a full understanding of the Vendor portal please let me know as soon as

time permits Thank you.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Springfield, Ma 01109
Cell: 617-939-5417

Toll Free: 888-680-4667
Fax: 888-726-8386

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sender and delete the material from any computers.

On Mon, Jun 4, 2018 at 12:47 PM, Monk, Robert <Robert. Monk(@mrta.us> wrote:

Excellent- so what was the error??
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 55 of 83

From: paul jones [mailto:cerdcorp@gmail.com]
Sent: Monday, June 04, 2018 12:40 PM

To: Monk, Robert
Subject: Re: FW: Fw: Re:TSR-4572 MITEL- new rate changes

All set I am in and up loading my Dial a ride rates

Paul Jones / Director
Commonwealth Community

Recovery Division Inc.

79 Thompson Street

Springtield, Ma 01109
Cell: 617-939-5417

Toll Free: 888-680-4667
Fax: 888-726-8386

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contact the sender and delete the material from any computers.

On Mon, Jun 4, 2018 at 12:32 PM, Monk, Robert <Robert.Monk(@mrta.us> wrote:

From: Sam TechSupport [mailto:ts_sam@hbssweb.com]
Sent: Monday, June 04, 2018 12:10 PM

To: Monk, Robert
Subject: RE: Fw: Re:TSR-4572 MITEL- new rate changes

Hi Robert ,

Please accept the following support link so that we can check this.

https:/Avwav.fastsupport.com/264445048
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 56 of 83

Regards,
Sam
On June 4, 2018 at 9:13 PM "Monk, Robert" <Robert. Monk(@MRTA.US> wrote:

It is the same error- when adding the new DAR rate, the “OQ” that appears in the “second attendant
fee” disappears. Then when the vendor hits the submit, the error “no 0’s allowed” pops up and the
second attendant fee in unalterable.

Thanks,

Bob

From: Sam TechSupport [mailto:ts_ sam@hbssweb.com]
Sent: Monday, June 04, 2018 11:34 AM

To: Monk, Robert

Subject: RE: Fw: Re:TSR-4572 MITEL- new rate changes

Hi Robert,

Can you please share some more information like, any error message etc while entering the
DAR rates for these two vendors,

Regards,
Sam

On June 4, 2018 at 8:24 PM "Monk, Robert" <Robert. Monk@@MRTA.US>
wrote:

Sam,

In reviewing this vendor situation, we have another vendor with the exact same
issue, HB Livery Service (HBLS). I’ve discerned, however that both vendors ONLY
have ever had TAXI rates and have never submitted DAR rates. Could the problem
be that they are unable to add DAR rates because they have never had them before
and we at MART need to submit the first set of DAR rates? Please advise...
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 57 of 83

With thanks,

Bob

Robert A. Monk, Jr.

Sr. Staff Assistant, Program Management
Montachusett Regional Transit Authority
Ph: (978)- 665-2806

Fax: (978)-342-1063

From: Sam TechSupport [mailto:ts_ sarn@hbssweb.com]
Sent: Friday, June 01, 2018 4:29 PM

To: Monk, Robert

Cc: Badgley, Rebecca; hbss_techsupport@hbssonline.com
Subject: RE: Fw: Re:TSR-4572 MITEL- new rate changes

Hi Robert,

We tried to call you but it reached on VM. Please confirm with vendors that he
have refreshed the browsers as per instruction sent earlier.

Without the browser refresh this issue will continue to show up.

Regards,

Sam

On June 2, 2018 at 12:32 AM "Monk, Robert"
<Robert.MonkceMRTA.US> wrote:
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 58 of 83

Mitel/Sam,

The vendor from his own portal, stiff cannot add new DAR rates---
the second attendant fee disappears and once he hits submit, the
same error message of no 0’s allowed appears and he can’t add
them.... Please advise....

From: Sam TechSupport (mailto:ts sam@bhbssweb.com]
Sent: Friday, June 01, 2018 1:50 PM

To: Monk, Robert

Cc: hbss_techsupport; Mital Parikh

Subject: Re: Fw: Re:TSR-4572 MITEL- new rate changes

Hi Robert,
This has been taken care of.
Any vendor who have this problem needs to press CTRL +

FS or Hold shift-key and click on Refresh icon(refer image)
to clear the browser cache as shown below:-

 

€ G Secure Attps

+n + a

 

 

 

efresh Icon

Please let us know if you have any question.
Thanks,
Sam

On June 1, 2018 at 10:12 PM Mital Parikh
<Mital@gryde.com> wrote:

From: Monk, Robert <Robert.Monk@MRTA.US>
Sent: Friday, June 1, 2018 12:41 PM

To: Mital Parikh

Cc: Badgley, Rebecca

Subject: RE: Re:TSR-4572 MITEL- new rate changes
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 59 of 83

Mital,

Actually, in walking through the process of adding
the new rate with the vendor, when you alter the
trip type to DAR, the “O” in the second attendant fee
disappears and the rate still will not upload because
it is blank.... It still is not working...

Please advise:

Bob

From: Mital Parikh [mailto:Mital@qryde.com]
Sent: Friday, June 01, 2018 12:33 PM

To: Monk, Robert; Sam TechSupport

Cc: hbss_techsupport

Subject: Re: Re:TSR-4572 MITEL- new rate changes

What was fixed to address the issue ?

From: Sam TechSupport <ts_sam@hbssweb.com>
Sent: Friday, June 1, 2018 12:27:01 PM

To: Robert Monk

Cc: Mital Parikh; hbss_techsupport

Subject: Re: Re:TSR-4572 MITEL- new rate changes

Hi,

This has been taken care of.

Regards,

Sam
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 60 of 83

On June 1, 2018 at 9:20 PM Sam
TechSupport

<ts sam@hbssweb.com> wrote:

Hi,

We are looking into this and will
get back to you with an update.
Your reference number for this

request is TSR-4572 .

Please refer to that in any further
communications for this request.

Regards,
Sam

On June 1, 2018 at
8:52 PM Mital
Parikh

<Mital@ gryde.co

m> wrote:

From: Monk, Robert
<Robert.Monk@MR
TA.US>

Sent: Friday, June 1,
2018 11:06 AM

To: Mital Parikh

Cc: Badgley,
Rebecca

Subject: RE: MITEL-
new rate changes

Mital,
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 61 of 83

it appears in all
regions. | do have
one question- |
recall lvan stating
at some point, but
| don’t know if it is
true- the rate
changes- ts that
set for a specific
time for the
vendors to start
inputting new
rates? Is it like the
take-away trips on
the portal, they
occur at a specific
time? Example- at
11:30 AM- will
they be able to
input new rates
because that is the
designated time
for rates-change
activation?

Please advise.
With thanks,

Bob

Robert A.
Monk, Jr.

Sr. Staff
Assistant,
Program
Management

Montachusett
Regional
Transit
Authority

10
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 62 of 83

Ph: (978)-
665-2806

Fax: (978)-
342-1063

From: Monk,
Robert

Sent: Friday, June
01, 2018 10:51 AM
To:
‘mital@qryde.com'
Cc: Badgley,
Rebecca

Subject: RE:
MITEL- new rate
changes

Mitai,

Also of note- we
experimented only
in the pioneer
valley with the two
vendors... | will
see if the same
holds true in other
regions and get
back to you.

With thanks,

Boh

Robert A.
Monk, Jr.

11
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 63 of 83

Sr. Staff
Assistant,
Program
Management

Montachusett
Regional
Transit
Authority

Ph: (978)-
665-2806

Fax: (978)-
342-1063

From: Monk,
Robert

Sent: Friday, June
01, 2018 10:46 AM
To:
‘mital@gryde.com'
Cc: Badgley,
Rebecca

Subject: MITEL-
new rate changes

Robert A.
Monk, Jr.

12
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 64 of 83

Sr. Staff
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Management

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665-2806

Fax: (978)-
342-1063
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 65 of 83

Lisa M. Kenepp

 

From: Monk, Robert <Robert.Monk@MRTA.US>
Sent: Tuesday, May 11, 2021 12:03 PM

To: Badgley, Rebecca

Subject: FW: Update on Adding Dial A Ride rates-CCRD
Importance: High

From: paul jones [mailto:ccrdcorp@gmail.com]

Sent: Monday, June 4, 2018 10:31 AM

To: Monk, Robert <Robert.Monk@MRTA.US>
Subject: Re: Update on Adding Dial A Ride rates-CCRD

Dear Robert,
I have tried this suggestion also, this really out of the way I believe that now the software developers are trying
to put shift the blame on CCRD INC employees training somehow to paint a picture that we don't know what

we are doing.

[ have never ever experienced something like this before this is very very disturbing to me that we can update
our taxi rates but somehow we can put in dial a ride rates but you can on your end.

I believe this is a tactic to allow CCRD INC, 10 days to be wasted not on your behalf but the Software
developers, as you know I did file a complaint against Karen Cordio whom now I believe works at HBBS, it

amazes me how CCRD INC cant get MARTS portal to except our Dial A Ride rates .

| am at my wits end of the blame being shifted on CCRD INC. staff for not being able to accomplish things in
the portal as other vendors that hardly understands and can write English do on a daily, when I am a college

graduate and J have the capabilities to build website ete.

CCRD INC and our staff have had the blame shifted on us each & every time there is a portal problem from the
beging our contract with MART, I appreciate all your help but even you now have run into a stonewall trying to
asist me, this may be designed for you to soon say I have done all I can for your company it is your problem
when infact its not, you can only do so much Robert, now that the refresh instructions are not working for me
what is the next step to resolve this are the softwar developers going to now say its CCRD INC & their staffs
fault they cant put in their Dial a rides rate please let me know Thanks again.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Springfield, Ma 01109

Cell: 617-939-5417
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 66 of 83

Toll Free: 888-680-4667
Fax: 888-726-8386

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sender and delete the material from any computers.

On Mon, Jun 4, 2018 at 8:49 AM, Monk, Robert <Robert.Monk(@mrta.us> wrote:
Paul,

According to our tech support — the below process should refresh the memory and eliminate the issue regarding the
second attendant fee.

Please try the below process- | found holding the shift key and clicking the refresh icon is easiest.

Any vendor who have this problem needs to press CTRL + F5 or Hold shift-key and click on Refresh
icon(refer image) to clear the browser cache as shown below:-

 

€ Cy @ secure Nitps

a Icon

Please let us know if you have any question.

 

 

 

Please cantact me once you have tried this process and let me know if it worked or not. | appreciate your patience.
With thanks,

Bob

Robert A. Monk, Jr.

Sr. Staff Assistant, Program Management
Montachusett Regional Transit Authority
Ph: (978)- 665-2806

Fax: (978)-342-1063
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 67 of 83

From: paul jones [mailto:ccrdcorp@gmiail.com)
Sent: Saturday, June 02, 2018 6:23 AM

To: Monk, Robert
Subject: Update on Adding Dial A Ride rates

Hello Robert, it is 6:15 Saturday Morning, I just tried to add Dial A Ride Rates again the same thing is
happening.

The second attendant fee has nothing in the box it should have 0, here is a screenshot of my portal when J tried
to add a Dial a Ride rate for Agawam Ma. The error message coming up is the same as yesterday on CCRD
INC computer, "Field cannot be left empty, Please enter some value". I will try again from several other

computers today Thank you.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Springfield, Ma 01109

Cell: 617-939-5417

Toll Free: 888-680-4667
Fax: 888-726-8386

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Lisa M. Kenepp

From: Monk, Robert <Robert.Monk@MRTA.US>
Sent: Tuesday, May 17, 2021 12:01 PM

To: Badgley, Rebecca

Subject: FW: Paul Jones-CCRD

Importance: High

From: Monk, Robert

Sent: Friday, June 1, 2018 11:38 AM

To: paul jones <ccrdcorp@gmail.com>

Cc: DMAContracts <DMAContracts@MRTA.US>; Badgley, Rebecca <rebecca.badgley@mrta.us>
Subject: RE: Paul Jones-CCRD

Paul- | left you a voicemail. There is a “adding” new rates problem. Our tech support is examining it now. As it stands,
you can only edit existing rates right now- so feel free to do so if you wish. As soon as | get the clearance that the adding
new rates has been fixed, | will contact you and we will walk through adding a few to make sure it is working

correctly. Also, we do have plenty of time- the rate change period is through June 10"- so we will definitely be able to
get your new rates submitted.

| will contact you as soon as | have a response.

With thanks,

Bob

Robert A. Monk, Jr.

Sr. Staff Assistant, Program Management
Montachusett Regional Transit Authority
Ph: (978)- 665-2806

Fax: (978)-342-1063

From: paul jones [mailto:ccrdcorp@gmail.com]
Sent: Friday, June 01, 2018 11:29 AM

To: Monk, Robert

Subject: Paul Jones

Robert, I am in the office waiting, let me know when you are ready to try again to add rates in the portal, |
didn't book rides today so I could address this matter, J am here just let me know when you are ready Thank

you.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 69 of 83

Springfield, Ma 01109
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Lisa M. Kenepp

From: Monk, Robert <Robert.Monk@MRTA.US>
Sent: Tuesday, May 11, 2021 12:00 PM

To: Badgley, Rebecca

Subject: FW: CCRD INC

Importance: High

From: paul jones [mailto:ccrdcorp@gmail.com]
Sent: Friday, June 1, 2018 7:59 AM

To: Monk, Robert <Robert. Monk@MRTA.US>
Subject: CCRD INC

Hello Robert,
I am currently in the portal trying to add my DAR rates I am having a problem getting a message that says
: "Fields cannot be left empty, please enter some values", You informed me to contact you June 1, 2018

please feel free to call me.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Springfield, Ma 01109

Cell: 617-939-5417

Toll Free: 888-680-4667
Fax: 888-726-8386

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Lisa M. Kenepp

From:
Sent:
To:
Subject:

Importance:

Monk, Robert <Robert Monk@MRTA.US>
Tuesday, May 11, 2021 11:58 AM
Badgley, Rebecca

FW: Paul Jones-CCRD

High

From: paul jones [mailto:ccrdcorp@gmail.com]
Sent: Monday, May 21, 2018 11:32 AM
To: Monk, Robert <Robert.Monk@MRTA.US>

Subject: Re: Paul Jones-CCRD

Thank you Robert very much, I am gonna stick with the plan.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Springfield, Ma 01109

Cell: 617-939-5417

Toll Free: 888-680-4667

Fax: 888-726-8386

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sender and delete the material from any computers.

Page 71 of 83

On Mon, May 21, 2018 at 9:20 AM, Monk, Robert <Robert.Monki@mrta,us> wrote:

Paul,

| can’t speak to prior meetings or discussions but as we discussed, we have discovered the primary issues with your trip
offers and your rates. | did increase your capacity to accept more trips, though | understand your offers may not be
cost effective. However, when the rates-change period starts on June 1", as stated | will guide you through the process
with your new rates submissions to make sure that by July 1*, you will start getting the trip offers you are looking for.

Unfortunately these fixes are not instantaneous, and | ask your bear with us as we head towards the new fiscal year,

and you contract amendment period.

Please contact me with any questions or concerns.

With thanks,
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 72 of 83

Bob

Robert A. Monk, Jr.

Sr. Staff Assistant, Program Management
Montachusett Regional Transit Authority
Ph: (978)- 665-2806

Fax: (978)-342-1063

From: paul jones {mailto:cerdcorp@gmail.com]
Sent: Friday, May 18, 2018 4:00 PM

To: Monk, Robert
Subject: Paul Jones

Due to lack of work I have had one of my two employees quit today because since the mecting my work has
took a drastict dive, this is killing CCRd INC as a vendor we only have two employees and myself and cannot
keep enough work for them.

I have been having work offered but they are noncosteffective trips, I was exspecting our trips to be cout after
the meeting we had, because the previous meeting I had with MARK april 2017, my work was cot and J losy
all employees, this is killing us as a vendor.

I dont understand why our work was cut since the meeting but it seems that when I try to communicate with
MART our problems they take it as J am being a trouble maker, 1 am just like every employee there ] just want
to make a living for me and my family, hopfully next week I wil] have eneough work for the two employees
that are left here at CCRD INC., I felt as though I should atleast tell you please dont take this email personal its
just business Thank you for your time.
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 73 of 83

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

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Springfield. Ma 01109

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sender and delete the material from any computers.
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 74 of 83

Lisa M. Kenepp

From: Monk, Robert <Robert. Monk@MRTA.US >
Sent: Tuesday, May 11, 2021 11:57 AM

To: Badgley, Rebecca

Subject: FW: Paul Jones-CCRD

Importance: High

From: Monk, Robert

Sent: Monday, May 21, 2018 9:20 AM

To: paul jones <ccrdcorp@gmail.com>

Cc: DMAContracts <DMAContracts@MRTA.US>
Subject: RE: Paul Jones-CCRD

Paul,

| can’t speak to prior meetings or discussions but as we discussed, we have discovered the primary issues with your trip
offers and your rates. | did increase your capacity to accept more trips, though | understand your offers may not be cost
effective. However, when the rates-change period starts on June 1*, as stated | will guide you through the process with
your new rates submissions to make sure that by July 1%, you will start getting the trip offers you are looking for.
Unfortunately these fixes are not instantaneous, and | ask your bear with us as we head towards the new fiscal year, and
you contract amendment period.

Please contact me with any questions or concerns.

With thanks,

Bob

Robert A. Monk, Jr.

Sr. Staff Assistant, Program Management
Montachusett Regional Transit Authority
Ph: (978)- 665-2806

Fax: (978)-342-1063

From: paul jones [mailto:ecrdcoro@gmail.com]
Sent: Friday, May 18, 2018 4:00 PM

To: Monk, Robert

Subject: Paul Jones

Due to lack of work I have had one of my two employees quit today because since the meeting my work has
took a drastict dive, this ts killing CCRd INC as a vendor we only have two employees and myself and cannot
keep enough work for them.
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 75 of 83

{ have been having work offered but they are noncosteffective trips, ] was exspecting our trips to be cout after
the meeting we had, because the previous meeting I had with MARK april 2017, my work was cot and I losy all

employees, this is killing us as a vendor.

J dont understand why our work was cut since the meeting but it seems that when I try to communicate with
MART our problems they take it as I am being a trouble maker, J am just like every employee there I just want
to make a living for me and my family, hopfully next week I will have eneough work for the two employees
that are left here at CCRD INC., I felt as though I should atleast tell you please dont take this email personal its

just business Thank you for your time.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Springfield, Ma 01109

Cell: 617-939-5417

Toll Free: 888-680-4667
Fax: 888-726-8386

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Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21

Lisa M. Kenepp

From: Monk, Robert <Robert.MonkK@MRTA.US>
Sent: Tuesday, May 11, 2021 11:56 AM

To: Badgley, Rebecca

Subject: FW: CCRD- VP Training

Importance: High

From: paul jones [mailto:ccrdcorp@gmail.com]
Sent: Thursday, May 17, 2018 5:37 PM
To: Monk, Robert <Robert. Monk@MRTA.US>

Subject: Re: CCRD- VP Training

Thank you so much

Sent from my iPhone

Page 76 of 83

On May 17, 2018, at 12:04 PM, Monk, Robert <Robert.Monk@MRTA.US> wrote:

Paul,

| again want to thank you for taking the time to come in for the Vendor Portal refresher. Based
on our conversations and our internal investigatian, we have determined the following:

-Regarding the daily appearance of your existing work in your portal, according to our software
developer, this in NORMAL, All vendors see their daily trips in their portal with the “yes” marked and
the submit button is present. You do not have to re-submit your accepted trips, you can’t even alter
them to “no”, The trips appear as a courtesy only, so you may see what work you already have. Ifa
NEW trip is offered, neither the “yes” nor “no” will be marked; at that point, you may then choose the
trip or decline and submit it.

The primary problem as we discussed, appears to be how you submitted your rates. Due to
apparent miscommunication or misunderstanding, you were under the impression that you could not
submit DAR rates and the difference between “ALL” and “Other MA Pick-Ups” was reversed. As you
have only ever submitted “TAX!” and “OTHER MA PICK-UPS” rates for the Pioneer Valley region, tt was
determined that you have inadvertently restricted a vast amount of trip offers in your region.

As a result, we have agreed that at the next rate-change period (JUNE1st-June10th), you will
submit new “TAXI”, “DAR”, and “TO ALL” rates for specific cities you prefer to work in and around, and
you will also adjust any other rates you feel are necessary to change. Until the rate changes are
implemented, as a courtesy | did increase your standing order/shared —ride capacity so should receive
more trip offers than you have been getting. As explained, once these rates are uploaded, you will see a
DRASTIC change to the amount of Vendor portal trip offers, IVR calls, and same-day/next-day offers.
Please let me know if you have any other questions or concerns, or if there were any topics | missed.
With thanks,

Bob

Robert A. Monk, Jr.
Sr. Staff Assistant, Program Management
Montachusett Regional Transit Authority
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 77 of 83

Ph: (978)- 665-2806
Fax: (978)-342-1063

From: paul jones [mailto:cerdcorp@gmail.com]
Sent: Thursday, May 17, 2018 9:47 AM

To: Monk, Robert

Subject: Re: CCRD- VP Training

Bob per our conversation,
Please send me a synopsis of the problems solve in the portal and what you asked me to do
regarding the portal so I can get better risers so I can have a road map thanks again for all the

help
Sent from my iPhone
On May 10, 2018, at 12:19 PM, Monk, Robert <Robert.Monki@MRTA.US> wrote:

Paul- on second thought, it might be a good idea to bring your lap-top. | can show you

things directly from your portal.
Let me know if you still would like to bring it, we can run both systems simultaneously.

With thanks,
Bob

Robert A. Monk, Jr.

Sr. Staff Assistant, Program Management
Montachusett Regional Transit Authority
Ph: (978)- 665-2806

Fax: (978)-342-1063

From: paul jones [mailto:eccrdcorp@gmail.com]
Sent: Thursday, May 10, 2018 11:39 AM

To: Monk, Robert

Subject: Re: CCRD- VP Training

Thank you

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Springfield, Ma 01109
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 78 of 83

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the sender and delete the material from any computers.

On Thu, May 10, 2018 at 11:19 AM, Monk, Robert <Robert.Monk/@mrta.us>
wrote:

Paul,

Per our conversation, you will be participating in a Vendor Portal Training here
at MART on Wednesday May 16", 2018 at 9:00AM.

The training location is:
Montachusett Regional Transit Authority
100 Main St.

Fitchburg, MA 01420

Please park in the four-story lot (do not park in the reserved MART
spaces). The entrance is accessible on the 2» floor of the lot (MART
signage is on the door). Please contact me if you have any other
questions or concerns. If you are unable to attend, please contact me at your
earliest convenience.

1 look forward to meeting you Wednesday!

[ave a great weekend!

Bob

Robert A. Monk, Jr.
Sr. Staff Assistant, Program Management
Montachusett Regional Transit Authority

Ph: (978)- 665-2806
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 79 of 83

Fax: (978)-342-1063
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 80 of 83

Lisa M. Kenepp

From: Monk, Robert <Robert. Monk@MRTA.US>
Sent: Tuesday, May 11, 2021 11:54 AM

To: Badgley, Rebecca

Subject: FW: CCRD- VP Training

Importance: High

From: Monk, Robert

Sent: Thursday, May 10, 2018 11:20 AM

To: paul jones <ccrdcorp@gmail.com>

Cc: DMAContracts <DMAContracts@MRTA.US>
Subject: CCRD- VP Training

Paul,
Per our conversation, you will be participating in a Vendor Portal Training here at MART on Wednesday May 16", 2018

at 9:00AM.

The training location is:

Montachusett Regional Transit Authority
100 Main St.

Fitchburg, MA 01420

Please park in the four-story lot (do not park in the reserved MART spaces). The entrance is accessible on the
2 floor of the lot (MART signage is on the door). Please contact me if you have any other questions or
concerns. |f you are unable to attend, please contact me at your earliest convenience.

| look forward to meeting you Wednesday!
Have a great weekend!
Bob

Robert A. Monk, Jr.

Sr. Staff Assistant, Program Management
Montachusett Regional Transit Authority
Ph: (978)- 665-2806

Fax: (978)-342-1063
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 81 of 83

Lisa M. Kenepp

From: Monk, Robert <Robert.Monk@MRTA.US>
Sent: Tuesday, May 11, 2021 11:54 AM

To: Badgley, Rebecca

Subject: FW: CCRD INC Vendor Portal Training
Importance: High

From: Badgley, Rebecca

Sent: Thursday, May 10, 2018 10:15 AM

To: paul jones <ccrdcorp@gmail.com>

Cc: Monk, Robert <Robert.Monk@MRTA.US>
Subject: RE: CCRD INC Vendor Portal Training

Paul,

| am going to have Robert Monk call you and schedule a date and time with you for a one on one retraining session.

Rebecca

From: paul jones [mailto:cerdcorp@email.com]
Sent: Thursday, May 10, 2018 10:11 AM

To: Badgley, Rebecca

Subject: Re: CCRD INC Vendor Portal Training

Mornings would be better for me

Paul Jones / Director
Commonwealth Community
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On Thu, May 10, 2018 at 10:09 AM, Badgley, Rebecca <rebecca.badgley(@imrta.us> wrote:

be
Case 4:19-cv-11093-TSH Document 120-4 Filed 07/29/21 Page 82 of 83

Paul,

Is there a particular day of the week that works best for you? Do you prefer morning or afternoon?

Rebecca

From: paul jones [mailto:ccrdcorp@gmail.com]
Sent: Thursday, May 10, 2018 9:54 AM

To: Badgley, Rebecca
Subject: CCRD INC Vendor Portal Training

Hello Rebecca I was told to contact you regarding Vendor Portal Training for CCRD INC, please let me know
Thank you.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

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Springfield, Ma 01109

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Lisa M. Kenepp

From: Monk, Robert <Robert. Monk@MRTA.US>
Sent: Tuesday, May 11, 2021 11:46 AM

To: Badgley, Rebecca

Subject: FW: GREAT JOB IVAN CSV FILE DOWNLOAD

From: paul jones [mailto:ccrdcorp@gmail.com]

Sent: Thursday, August 17, 2017 12:49 PM
To: Roman, lvan <lvan.Roman@MRTA.US>; Richard, Stephanie <Stephanie.Richard@MRTA.US>; DMAContracts

<DMAContracts@MRTA.US>; lindsey Shepard <Isccrdcorp@gmail.com>
Subject: GREAT JOB IVAN CSV FILE DOWNLOAD

Dear Ivan Thank you for walking me through (Instructions) and showing CCRD INC how to down load all trips
for Aug 1, 2017 to Aug 15 2017, as I said we need it to prove to our insurance company that we are not doing
40% of our rides in Boston or we face a $5600 insurance increase, sorry for any inconvenience Thanks again.

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

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Springfield, Ma 01109

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